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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Bill A. Busbice Jr., et al.
                                   Plaintiff,
v.                                                     Case No.: 1:17−cv−01640
                                                       Honorable Andrea R. Wood
Adrian Vuckovich, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 12, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held.
Agreed motion to extend dispositive motion dates [116] is granted. The dispositive
motions deadline is extended to 6/27/2018. Status hearing set for 6/26/2018 is stricken and
reset for 7/3/2018 at 9:00 AM. Mailed notice(ef, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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